Case:18-10965-TBM Doc#:91 Filed:05/01/18                  Entered:05/01/18 16:04:02 Page1 of 6



                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

                               Honorable Thomas B. McNamara

In re:                                           )
                                                 )
11380 SMITH RD LLC                               )   Case No. 18-10965 TBM
EIN XX-XXXXXXX                                   )   Chapter 11
                                                 )
Debtor.                                          )


           DEBTOR’S OBJECTION AND RESPONSE TO 11380 EAST SMITH RD
            INVESTMENTS, LLC’S MOTION TO DISMISS THIS CHAPTER 11
                BANKRUPTCY CASE FOR BAD FAITH PURSUANT TO
                  SECTION 1112(B) OF THE BANKRUPTCY CODE


       COMES NOW 11380 SMITH RD LLC, the Debtor-in-Possession (“Debtor”), by and
through its counsel, Weinman & Associates, P.C., and its Special Litigation Counsel, Brown
Dunning Walker PC, and for its Objection and Response to 11380 East Smith Rd Investments,
LLC’s Motion to Dismiss pursuant to Section 1112 (B) of the Bankruptcy Code, states as
follows:

                                      INTRODUCTION

          1.   The Debtor is seeking to reorganize its operations, and is actively working with
professionals to refinance the underlying debt secured by the Debtor’s real property and/or to
market and sell the Debtor’s real property. To that end, the Debtor filed for relief under Chapter
11 of the Bankruptcy Code on February 13, 2018 and filed its Plan of Reorganization on March
23, 2018, approximately 5 weeks ago. The Debtor’s Plan complies with the technical
requirements of the Bankruptcy Code, is feasible and was proposed with honesty and sincerity,
and is fundamentally fair.

        2.      This bankruptcy presents a single asset real estate case where the Debtor seeks to
reorganize following the Lender’s foreclosure filing. As such, the recurring but not exclusive
pattern of factors discussed in In re Little Creek Development, Co., 779 F. 2d 1068 (5th Cir.
1986) are present. However, after reviewing the totality of the circumstances and evaluating the
Debtor’s financial condition, motives and the local financial realities, it will be apparent that
cause does not exist for entry of an Order granting relief from the automatic bankruptcy stay nor
does it exist for dismissing this case pursuant to 11 USC 1112(B).

          3.   The Lender, seeking to label Debtor’s motive in filing its petition and its post-
petition conduct as bad faith, lifted verbatim from Judge Tallman’s opinion in In re Springs
Hospitality, 2006 Bankr. LEXIS 1804, and describes the present case as “the poster child for bad


                                            Page 1 of 6
Case:18-10965-TBM Doc#:91 Filed:05/01/18                   Entered:05/01/18 16:04:02 Page2 of 6



faith single asset real estate cases”. Yet, despite such characterization, the present case lacks the
bad faith motives of the cases cited by Lender, and instead demonstrates an honest and sincere
effort to reorganize, contrary to the Lender’s cases.


                 RESPONSE AND OBJECTION TO LENDER’S ALLEGATIONS

       4.      The Debtor denies the allegations set forth by the Lender in paragraphs 1-3 of its
Motion.

       5.      The Lender has made statements in paragraphs 4 through 24 regarding documents
that speak for themselves. The Debtor denies all other allegations contained in paragraphs 4
through 24 of the Motion.

       6.     Although the Debtor does not deny the statements attributed to Debtor at the 341
meeting of creditors as set forth in paragraph 25 of Lender’s Motion, the Debtor denies that said
paragraph 25 sets forth the entirety of the 341 meeting of creditors, and therefore denies said
paragraph 25.

       7.     The Lender has made statements in paragraphs 26 through 31 regarding
documents that speak for themselves. The Debtor denies all other allegations contained in
paragraphs 26 through 31 of the Motion.

      8.       Debtor denies the Lender’s request for entry of an order granting dismissal of the
bankruptcy, as set forth in paragraph 32 of the Lender’s Motion.

       9.      Debtor denies the Lender’s allegations as set forth in paragraphs 33-53, inclusive.


                  ANALYSIS AFFIRMATIVE DEFENSES TO LENDER’S
                          ALLEGATIONS OF BAD FAITH

        10.    In each of the cases cited by the Lender in support of its Motion, each respective
court found conduct by the Debtor, in addition to the recurring pattern of factors found in Little
Creek, to reach its conclusion of bad faith. This additional bad faith conduct does not exist as to
the Debtor in this case. As such, each of the cases cited by Lender in support of its Motion can be
distinguished from the present case and are addressed below.

       11.     In Little Creek, where the eight single asset factors were first noted, in addition to
the existence of the recurring pattern of factors found in single asset real estate cases, the court,
in finding bad faith found that the debtor’s bankruptcy filing was essentially to avoid the posting
of a bond required to stay execution while on appeal. Filing bankruptcy to avoid posting of a
bond is not present in this case.

       12.     In In re Nursery Land Development, Inc., 91 F. 3d 1414 (10th Cir. 1996), the court
found bad faith when, in their haste to stop the creditor’s actions, counsel for Debtor filed a hand



                                             Page 2 of 6
Case:18-10965-TBM Doc#:91 Filed:05/01/18                   Entered:05/01/18 16:04:02 Page3 of 6



written bankruptcy petition but never provided the required schedules, statements or disclosures.
In addition, the Court found bad faith where, despite vague statements as to new investors to
reorganize the debtor, those investors were never identified nor were any agreements provided to
demonstrate that indeed a reorganization was in process. The hasty, incomplete bankruptcy filing
without factual support of a reorganization process in prospect is not present here.

         13.   In Pacific Rim Invs., LLP v Oriam, LLC, ( In re Pacific Rim Invs., LLP), 243 B.R.
768 (D. Colo. 2000), although the debtor failed to provide the court with a transcript of the
bankruptcy court proceedings, Judge Kane, on appeal, determined that the debtor’s principals
provided false information to induce Oriam to sell its building to the debtor. When the Note
matured and became due, Oriam filed for foreclosure in Denver District Court. After a year of
litigation, Debtor’s counsel, its third, moved to withdraw because the Debtor refused to
communicate with the firm and withdrew all authority to conduct discovery, which was essential
for preparation for trial. Pacific Rim was sanctioned by the state trial court and was limited in the
testimony it could present at trial. Instead of hiring new counsel, to avoid trial of the issues as
framed in state court, Pacific Rim filed bankruptcy three days before trial. Based on the debtor’s
motive and actions the bankruptcy court found bad faith and dismissed the bankruptcy, which
Judge Kane affirmed. The bad faith evidenced by the debtor’s failure to cooperate with the
procedural requirements of the state court, are not present here.

       14.      In In re Platte River Bottom, LLC, 2016 Bankr. LEXIS 186, Judge Tallman noted
that the individual owner of the Debtor had the ability to pay the various creditors’ claims. There
were several single asset entities set up for the various assets, but only those without income
stream were included in the bankruptcy. In reality, the debtor was using the bankruptcy to
organize a start up entity to conduct a business, a sand and gravel pit, and Judge Tallman
determined the debtor would never be able to satisfy the feasibility requirement to confirm a
plan. Although not a single asset real estate case, Judge Tallman did refer to the Little Creek,
recurring factors in his bad faith analysis where he dismissed the bankruptcy case. Here, the
Debtor did not cherry pick the single asset real estate entities to place into bankruptcy as was
done by the debtor in Platte River Bottom, nor is the Debtor here presenting a new start up
business entity as the debtor in bankruptcy which lead to the bad faith finding in Platte River
Bottom.

       15.     In In re Gunnison Ctr. Apts., 320 B.R. 391(Bankr. D. Colo. 2005), the bankruptcy
was the second bankruptcy filed by the Debtor in less than thirteen months, the first case being
voluntarily dismissed due to the Debtor’s admitted inability to confirm a plan of reorganization.
The property was subject of a receivership and on the date of appointment numerous checks
essentially depleting the Debtors bank accounts were written to an insider controlled by the
Debtor’s principal. With this conduct, the bankruptcy was dismissed for bad faith. Conduct by
the debtor depleting the debtor’s bank accounts before filing is not present in this case.

         16.     In In re Springs Hospitality, 2006 Bankr. LEXIS 1804, Judge Tallman found bad
faith, in part, when the Debtors filed an involuntary petition contrary to the shareholders vote, in
which the Debtor participated, the majority of which had voted against filing a voluntary
petition. Defying the vote of the majority shareholders to file bankruptcy is not present in the
case herein.



                                             Page 3 of 6
Case:18-10965-TBM Doc#:91 Filed:05/01/18                    Entered:05/01/18 16:04:02 Page4 of 6




         17.    The final case cited by Lender as to bad faith is In re H.T. Pueblo Props., LLC,
2011 Bankr. LEXIS 5231. Although the Little Creek recurring pattern was present, Judge
Romero noted that the list of factors is not exhaustive, and bad faith is found when the
cumulative effect of these and other factors, (emphasis supplied), leads to the inescapable
conclusion that use of the bankruptcy laws by the debtor is inappropriate. The debtor’s principal
testified that he had unwisely transferred funds between different properties and explained his
mistakes in disclosing the source of the payment made to debtor’s attorneys and willfully
conceded he transferred funds between properties stating such transactions resulted in a wash
rather than unwarranted gains. The factual picture painted is not of a debtor using the bankruptcy
laws inappropriately but of a debtor’s owner who continued unwise financial practices in
preparation for and after filing the Chapter 11 petition. Judge Romero could not find Debtor’s
actions to constitute bad faith. In the present case, the factual picture before the court is not of a
debtor using the bankruptcy laws inappropriately but, as was the case In re H.T. Pueblo Props.,
LLC, of a debtor’s owner who is diligently working to refinance, sell or lease the subject assets
to pay his creditors.

        18.    When examined together, these cases show that it is not just the existence of the
Little Creek factors that give rise to bad faith, as those factors are common in many single asset
real estate Chapter 11 cases. But, as Judge Romero noted in H.T. Pueblo Props., it is the
cumulative effect of these and other factors that could give rise to a finding of bad faith.

       19.      Here, all that Lender can point to, beyond the Little Creek factors, is the allegation
that Debtor filed bankruptcy close in time to the occurrence of the foreclosure sale, and that
Debtor declined to accept a low ball purchase and sale offer from a third party seeking to acquire
the property at $5,500,000.00.

       20.     The property has been appraised at $8,500,000.00 if occupied by a high rent
tenant, and a Broker’s Price Opinion concludes that the property can sell for $6,500,000.00 as
vacant land.

       21.       That a bankruptcy has been filed after an adverse judgment is entered, in and of
itself is not bad faith. In re Autterson, 547 B.R. 372 (Bankr. Colo. 2016). In addressing bad faith,
the court makes a spot on examination of the totality of the circumstances and evaluates the
debtor’s financial condition, motives and the local financial realities in determining whether a
case should be dismissed or relief from stay entered for bad faith.

        22.     Taking Lender’s arguments to their conclusion, Lender is arguing that whenever a
debtor can or could have paid the lender in full and has filed a bankruptcy instead to preserve
value, that the case is a bad faith case.

        23.    The local financial realities are that the Lender is over-secured by between
$3,000,000.00 and $5,000,000.00. The local real estate market remains fairly robust. The Debtor
has made contacts with and has a party interested in leasing the entire property, and is involved
in active discussions with parties to refinance the debt on the property so Debtor can reorganize
its management of the building and pay its creditors. In the alternative, the Debtor has engaged a



                                              Page 4 of 6
Case:18-10965-TBM Doc#:91 Filed:05/01/18                  Entered:05/01/18 16:04:02 Page5 of 6



broker to assist in the sale of the building all for the purpose of paying the Lender the amount
owed on its secured Note. There is no conduct of the Debtor where either it or its’ principal have
been dishonest with the Lender, or where the Debtor’s conduct has been inappropriate or for self
dealing at the expense of the Lender. As such, the Lender’s motion to dismiss for bad faith must
be denied.

                           DEBTOR’S PLAN IS CONFIRMABLE

        24.    Debtor will be filing an Amended Plan prior to the preliminary hearing date on
the Motion For Relief from Stay, which plan will comply with all of the provisions of Section
1129 of the Bankruptcy Code, pays all creditors in full, with interest, and has been proposed in
good faith and not by any means prohibited by law. The Amended Plan is feasible because the
Amended Plan provides for payment from the sale or refinance of the property, which exceeds in
value the debt by $2,000,000.00 to $5,000,000.00, and provides as a back stop the deeding of the
property to Lender after a year.

       WHEREFORE, for the reasons set forth above, Debtor prays that the Court enter its
Order denying Lender’s Motion to Dismiss and enter such other and further relief as the Court
deems appropriate.

       DATED this _____ day of May, 2018.

                                             Respectfully submitted,

                                             WEINMAN & ASSOCIATES, P.C.

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                                            Page 5 of 6
Case:18-10965-TBM Doc#:91 Filed:05/01/18                 Entered:05/01/18 16:04:02 Page6 of 6




                               CERTIFICATE OF SERVICE

      The undersigned certifies that on May 1, 2018, I served by prepaid first class mail a copy
of the DEBTOR’S OBJECTION AND RESPONSE TO 11380 EAST SMITH RD
INVESTMENTS, LLC’S MOTION TO DISMISS THIS CHAPTER 11 BANKRUPTCY
CASE FOR BAD FAITH PURSUANT TO SECTION 1112(B) OF THE BANKRUPTCY
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                                                     /s/ Jeni Mellott




                                           Page 6 of 6
